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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 24-CR-80038-CANNON

  UNITED STATES OF AMERICA

         vs.

  ROBERT CLARK

                         Defendant
                                             /

       GOVERNMENT’S RESPONSE TO MOTION FOR DOWNWARD VARIANCE

         The United States, through undersigned counsel, hereby opposes the defense motion for

  downward variance. The Defendant’s individual life circumstances and conduct do not warrant a

  variance pursuant to the 18 U.S.C. § 3553(a) factors, when compared against the serious nature of

  his criminal actions. In particular, the Defendant caused over $15 million of fraudulent billing to

  Medicare. Accordingly, the defense motion should be denied.




  Dated: June 28, 2024                                 Respectfully submitted,

                                                       MARKENZY LAPOINTE
                                                       UNITED STATES ATTORNEY

                                                       GLENN S. LEON
                                                       CHIEF, FRAUD SECTION
                                                       CRIMINAL DIVISION
                                                       U.S. DEPARTMENT OF JUSTICE

                                                 By:   /s/_S. Babu Kaza       _
                                                       S. Babu Kaza
                                                       Trial Attorney
                                                       Florida Special Bar No. A5503027
                                                       United States Department of Justice
                                                       Criminal Division, Fraud Section

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                                 CERTIFICATE OF SERVICE

        I, Katherine Payerle, hereby certify that on June 28, 2024, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF.


                                               By:    /s/_S. Babu Kaza       _
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